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            EXHIBIT 2
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 1                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
 2

 3                                       )
       JANSSEN BIOTECH, INC.,            )
 4     and NEW YORK UNIVERSITY,          )
                                         )
 5               Plaintiffs,             )
                                         )   Civil Action
 6     v.                                )   No. 15-CV-10698-MLW
                                         )
 7     CELLTRION HEALTHCARE CO.,         )
       LTD, CELLTRION, INC., and         )
 8     HOSPIRA, INC.,                    )
                                         )
 9               Defendants.             )
                                         )
10

11

12                      BEFORE THE HONORABLE MARK L. WOLF
                          UNITED STATES DISTRICT JUDGE
13

14                                      HEARING
                                      10:06 a.m.
15
                                   January 30, 2018
16

17
                    John J. Moakley United States Courthouse
18                              Courtroom No. 10
                               One Courthouse Way
19                        Boston, Massachusetts 02210

20

21

22                         Kelly Mortellite, RMR, CRR
                             Official Court Reporter
23                  John J. Moakley United States Courthouse
                          One Courthouse Way, Room 5200
24                        Boston, Massachusetts 02210
                              mortellite@gmail.com
25
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 1     general intention is to go until about 6:00 tonight.             And I'd

 2     really like to hear the argument today so I can decide this

 3     first thing in the morning before we move to the motion

 4     concerning Dr. Glacken.      But if that's not feasible, it's not

 5     feasible.    But that may influence whether you want the realtime

 6     or not.    All right.

 7                 MR. DISKANT:    My guess, Judge, just for what it's

 8     worth, is it's going to be very hard to complete both Dr.

 9     Butler --

10                 THE COURT:   Well, you've got 69 minutes, and Mr. Hurst

11     has got 44 minutes, and that's going to be it.

12                 MR. DISKANT:    I understand.    I'm not saying it won't

13     be done.    I'm saying I don't think it's likely to be done and

14     have time for all of the arguments.         But I'm happy to do

15     whatever Your Honor wants and go later if you'd like.

16                 THE COURT:   Well, I have some other obligations this

17     evening.    All right.     If necessary, you'll argue it in the

18     morning.    Why don't you go ahead with your redirect.

19                 MR. DISKANT:    Okay.

20     REDIRECT EXAMINATION BY MR. DISKANT:

21     Q.    Dr. Butler, just a couple of things.        You mentioned a

22     couple of times when Mr. Hurst was questioning you about the

23     difference between the notion of equivalents in science versus

24     the legal doctrine of equivalents.       And can you just explain

25     what you meant by that.
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 1     A.    Well, in scientific terms, if you wanted to choose a

 2     particular media, you would test media formulations that might

 3     be totally different and test them in the same way that Dr.

 4     Wurm's experiments were conducted.       And if they performed in

 5     the same way and had the same cell growth and antibody

 6     production, you would say that those media were equivalent.

 7     But I recognize, of course, that the legal standards are very

 8     different.

 9     Q.    Right.   From a scientific perspective, the ingredients can

10     be totally different?

11     A.    Correct.

12     Q.    Now, Mr. Hurst also asked you some hypothetical questions

13     about issues that aren't in this case, in particular if there

14     were missing ingredients.      Do you recall those questions?

15     A.    Right, correct.

16     Q.    Were you presented with a circumstance here involving a

17     missing ingredient?

18     A.    No.

19     Q.    So did you have an opportunity to develop any thinking or

20     a need to consider how you would analyze a missing ingredient

21     under the doctrine of equivalents?

22     A.    Well, I recognize under the doctrine of equivalents it

23     requires an element-by-element analysis and that, you know,

24     each of those elements would have to be present for

25     consideration of infringement of one media against another.
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 1                       CERTIFICATE OF OFFICIAL REPORTER

 2

 3                     I, Kelly Mortellite, Registered Merit Reporter

 4     and Certified Realtime Reporter, in and for the United States

 5     District Court for the District of Massachusetts, do hereby

 6     certify that pursuant to Section 753, Title 28, United States

 7     Code that the foregoing is a true and correct transcript of the

 8     stenographically reported proceedings held in the

 9     above-entitled matter and that the transcript page format is in

10     conformance with the regulations of the Judicial Conference of

11     the United States.

12                           Dated this 16th day of January, 2018.

13

14                           /s/ Kelly Mortellite

15                           _______________________________

16                           Kelly Mortellite, RMR, CRR

17                           Official Court Reporter

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